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Attorney for Plaintiff



                              UNITED STATE DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION


 MATTHEW THOMPSON,                             Case No. 3:18-CV-00363-YY

                 Plaintiff,                    JOINT MOTION OF VOLUNTARY
                                              DISMISSAL OF PLAINTIFF'S CLAIM
        V.                                    WITH PREJUDICE AND JOINT
                                              MOTION OF VOLUNTARY DISMISSAI,
 KC CARE LLC,                                 OF DEFENDANT'S COUNTERCLAIMS
                                              WITHOUT PREJUDICE.
                 Defendant.




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WITH PREJUDICE AND JOINT MOTION OF VOLUNTARY DISMISSAL OF
DEFENDANT'S COUNTERCLAIMS WITHOUT PREJUDICE                  Rainelli Law 1.1i:
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         Case 3:18-cv-00363-SI          Document 41        Filed 03/20/20     Page 2 of 2




        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)0i), Plaintiff Matthew Thompson

and Defendant KC Care, LLC, by and through their respective counsel below, hereby stipulate to the

dismissal of the above-captioned action. Plaintifrs claim is dismissed with prejudice. Defendant's

counterclaims are dismissed without prejudice. Each of the parties shall bear its own costs. attorneys'

fees, and all other expenses incurred in connection with this action



RESPECTFULLY SUBMITTED March 13,2020



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